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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

                                                  Case No. 1:22-cv-00045-RDA-TCB
  In re Volkswagen AG Securities Litigation

                                                  CLASS ACTION




                    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                  MOTION FOR LEAVE TO AMEND THE COMPLAINT


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 April 11, 2023
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                                 PRELIMINARY STATEMENT

                Plaintiffs allege an unprecedented theory of securities fraud: That a foreign

 corporation that does not issue stock in the United States and its U.S. sales and marketing

 subsidiary can be held liable for securities fraud based solely on transactions in unsponsored

 American Depositary Receipts (“ADRs”) that reference the foreign corporation’s stock. What’s

 more, Plaintiffs are pursuing that claim based on a 36-hour April Fools’ Day marketing campaign,

 which was planned by and attributed to only the U.S. subsidiary, not the foreign parent. This Court

 correctly held that Plaintiffs’ Amended Complaint failed to state a claim for securities fraud, and

 Plaintiffs’ few additional allegations in their Proposed Second Amended Complaint don’t change

 that result.

                In dismissing Plaintiffs’ First Amended Complaint, the Court first held that

 Plaintiffs could not pursue their claim based on unsponsored ADRs without showing that the issuer

 of the referenced stock—here Volkswagen AG (“VWAG”)—could be held liable for the alleged

 fraud. Mem. Op. and Order (“Op.”) at 52, ECF No. 48. As this Court explained, “[w]ithout a

 plausible theory of liability ascribed to the issuer, Plaintiffs’ purchase or sale of Volkswagen ADRs

 cannot be said to ‘touch[]’ or ‘coincide’ with the alleged false statements of the Individual

 Defendants and [Volkswagen Group of America].” Op. 52. The Court also correctly recognized

 that a contrary rule would allow Plaintiffs to “contravene” the Supreme Court’s decision in Janus

 Cap. Group v. First Derivative Traders, which held that the “maker” of a statement is the entity

 with “ultimate authority over the statement, including its content and whether and how to

 communicate it.” 564 U.S. 135, 142 (2011). Thus, the Court reasoned that Plaintiffs could satisfy

 the “in connection with” requirement only by alleging that “the issuer of the underlying securities”

 would be “liable under [Section] 10(b).” Op. 52 (emphasis added).
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                The Court then explained that VWAG could not be held liable for two independent

 reasons. First, Plaintiffs failed to plausibly plead any facts showing that VWAG was the “maker”

 of any alleged misstatement. Op. 32-34. The Court correctly concluded that “Plaintiffs have not

 alleged with particularity that [VWAG] provided final approval over the press release and its

 details,” and reasoned that “[m]erely alleging a daily monitoring function and the participation in

 the preparation of public statements does not allow this Court to infer that [VWAG] ‘collaborated

 with the authors to such an extent that they controlled the [press release’s] publication.’ ” Op. 33

 (citing Noto v. 22nd Century Grp. Inc., 35 F.4th 95, 104 (2d Cir. 2022)).

                Second, the Court held that Plaintiffs failed to plead scienter as to VWAG. Op. 44.

 Under settled Fourth Circuit law, a plaintiff “must allege facts that support a strong inference of

 scienter with respect to at least one authorized agent of the corporation” to pursue a securities fraud

 claim against a corporate defendant. Yates v. Municipal Mortg. & Equity, LLC, 744 F.3d 874, 885

 (4th Cir. 2014) (quoting Matrix Cap. Mgmt. Fund, LP v. BearingPoint, Inc., 576 F.3d 172, 182

 (4th Cir. 2009)). Yet the only individuals mentioned in the First Amended Complaint were

 employees of VWGoA, not VWAG. And the Court held that Plaintiffs offered no basis to “attribute

 the severe recklessness of the Individual Defendants to Volkswagen AG.” Op. 44.

                After explaining each deficiency in the First Amended Complaint, the Court gave

 Plaintiffs 14 days to move to amend, and instructed them to “clearly identify all proposed

 amendments to the Amended Complaint.” Op. 61. Plaintiffs now contend that the sparse new

 allegations in their Proposed Second Amended Complaint demonstrate that VWAG “can be held

 liable for the alleged false statements” made during VWGoA’s marketing campaign. Plaintiffs’

 Memorandum of Law in Support of Their Motion For Leave to Amend The Class Action

 Complaint (“Pltfs’ Br.”) at 8, ECF No. 53.



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                To try to plead a claim against VWAG, Plaintiffs’ motion focuses on three new

 allegations, which they claim plausibly allege that VWAG made misstatements during the

 “Voltswagen” marketing campaign. But the first of those allegations—that VWAG supposedly

 posted a VWGoA press release on one of its websites—is not plausible. Plaintiffs claim to have

 discovered this information through an “internet search,” but the only link that they cite to support

 that search does not contain the press release. And, in any event, that single allegation is plainly

 insufficient to state a claim under Janus, which held that “attribution within a statement . . . is

 strong evidence that [a] statement was made by—and only by—the party to whom it was

 attributed.” 564 U.S. at 142 (emphasis added). Here, the press release clearly attributed the

 “Voltswagen” name change to VWGoA alone.

                 The second allegation Plaintiffs add—that VWAG confirmed that VWGoA’s

 “Voltswagen” marketing campaign was an April Fools’ Day joke—similarly sheds no light on

 whether VWAG, at the start of the campaign, “provided final approval over the press release and

 its details.” Op. 33. In fact, this allegation is not new at all. Plaintiffs made a similar argument

 in opposing Defendants’ motion to dismiss, arguing that VWAG was the “maker” of statements

 during the “Voltswagen” campaign because “a VWAG official affirmatively took responsibility

 for” the joke by explaining, after the fact, that “[t]he whole thing [was] just a marketing action to

 get people talking.” Plaintiffs’ Opposition to Defendants’ Motion to Dismiss at 16, ECF No. 33

 (citing Amended Compl. ¶ 123). The Court has already rejected that argument, Op. 33-34, and

 Plaintiffs offer no reason for a different result the second time around.

                Finally, Plaintiffs allege that “the public attributed the misstatements to

 Volkswagen AG.” Pltfs’ Br. 2, 8. Plaintiffs point to no authority holding that public sentiment is

 relevant to VWAG’s “ultimate authority” over the “Voltswagen” marketing campaign. And even



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 if it were, all of the misstatements alleged in the Proposed Second Amended Complaint were

 clearly attributable to only VWGoA.

                Notably, Plaintiffs do not contest—or even mention—the Court’s separate holding

 on scienter. The Proposed Second Amended Complaint does not allege any corporate agent of

 VWAG acted with scienter, nor does it offer new facts that would support attributing the scienter

 of any VWGoA employee to VWAG. As a result, even if Plaintiffs could show that VWAG was

 the “maker” of a misstatement, they still have not pled “a plausible theory of liability ascribed to”

 VWAG, Op. 52, and therefore cannot maintain a claim based on unsponsored ADRs against any

 Defendant.

                “A proposed amendment is . . . futile if the claim it presents would not survive a

 motion to dismiss.” Save Our Sound OBX, Inc. v. North Carolina Dep’t of Transp., 914 F.3d 213,

 228 (4th Cir. 2019) (citing Perkins v. United States, 55 F.3d 910, 917 (4th Cir. 1995)). Because

 Plaintiffs’ Proposed Second Amended Complaint would not survive a motion to dismiss—and

 therefore is futile—the Court should deny leave to amend and dismiss the Complaint with

 prejudice.

                                           ARGUMENT

                The Court dismissed Plaintiffs’ First Amended Complaint because Plaintiffs did

 not allege the required connection between their transactions in unsponsored ADRs and VWGoA’s

 “Voltswagen” April Fools’ Day marketing campaign. As the Court ruled, this connection was

 lacking because “Plaintiffs have not adequately demonstrated that Volkswagen AG may be held

 liable” for any statement made during the “Voltswagen” campaign. Op. 52. Given that holding,

 Plaintiffs can show that their amendment would not be futile only if it alleges new facts

 establishing VWAG’s liability for the “Voltswagen” campaign.



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                Plaintiffs’ Proposed Second Amended Complaint does not clear that hurdle.

 Taking every plausibly pled allegation in the Proposed Second Amended Complaint as true,

 Plaintiffs still fail to allege any facts sufficient to plead that VWAG was “the entity with authority

 over the content of [those] statement[s] and whether and how to communicate [them].” Janus,

 564 U.S. at 144. Instead, Plaintiffs point to allegations suggesting, at best, only that VWAG

 republished a VWGoA press release associated with the marketing campaign on one of its

 corporate websites or later communicated accurate information to the press, i.e., that VWGoA was

 not changing its name. Moreover, Plaintiffs do not explain how their new allegations would

 address the Court’s holding that they failed to plead scienter as to VWAG. The Proposed Second

 Amended Complaint identifies no VWAG official who allegedly acted with intent to deceive

 investors, nor does it explain why the Court should attribute the mental state of VWGoA

 employees involved in the marketing campaign to VWAG.

                Moreover, none of Plaintiffs’ new allegations show any connection between

 VWAG and unsponsored ADR transactions. Although the Court previously accepted Plaintiffs’

 allegation that VWAG may have “approve[d] of the unsponsored ADR program,” it did so even

 though Plaintiffs relied solely on general allegations that had nothing to do with VWAG, such as

 “the nature of the OTC markets in which the ADRs trade,” and a letter submitted by a “depositary

 bank[] offering the ADRs” more than a decade ago. Op. 49-50. That decision broke from the

 position of the Securities and Exchange Commission, see Brief for the United States as Amicus

 Curiae at 16, Toshiba Corp. v. Automotive Indus. Pension Tr. Fund, No. 18-486 (U.S. May 20,

 2019), by putting the onus on Defendants to “expressly disclaim[] any responsibility for ADR

 programs,” Op. 50.




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 I.       The Proposed Amendments Do Not Allege That VWAG Was the “Maker” of Any
          Statement.

                Under Janus, “the maker of a statement is the person or entity with ultimate

 authority over the statement.” 564 U.S. at 142. Because the Private Securities Litigation Reform

 Act requires securities fraud plaintiffs to “specify each statement alleged to have been misleading,”

 15 U.S.C. § 78u-4(b), the inquiry under Janus focuses on the particular misstatements identified

 in a plaintiff’s complaint. In Janus, the Supreme Court held that a mutual fund investment advisor

 was not the “maker” of statements included in prospectuses filed by its client, even though it was

 “significantly involved in preparing the prospectuses.” 564 U.S. at 148. The Court explained that

 “[o]ne who prepares or publishes a statement on behalf of another is not its maker,” id. at 142, and

 that “attribution within a statement or implicit from surrounding circumstances is strong evidence

 that a statement was made by—and only by—the party to whom it is attributed.” 564 U.S. at 142-

 143 (emphasis added).

                Here, Plaintiffs’ Amended Complaint identified four alleged misstatements: (i) the

 VWGoA “draft” press release issued on March 29, 2021 referencing the one letter name change of

 VWGoA; (ii) the VWGoA press release issued on March 30, 2021 communicating the same

 message; (iii) statements by two VWGoA employees made to reporters regarding the name change;

 and (iv) a post on VWGoA’s Twitter account announcing the name change. Amended Compl.

 ¶ 152.

                As the Court recognized, under a straightforward application of Janus, VWAG

 made none of those statements. Op. 33-34. The statements in the VWGoA press releases were

 specifically attributable to VWGoA, the only entity that was purportedly going to change its name

 from “Volkswagen” to “Voltswagen.” The releases were issued by VWGoA, quoted VWGoA’s

 then-CEO, and began: “Today, Volkswagen Group of America, is unveiling the official change


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 of its U.S. brand name from Volkswagen of America to Voltswagen of America.” Amended

 Compl. ¶ 150 (emphasis added). As for the statements to reporters, Plaintiffs’ Amended Complaint

 did not identify a single employee of VWAG who communicated with the press at any point during

 the marketing campaign.      Instead, the only specific allegation in the Amended Complaint

 concerned a VWGoA employee. Id. ¶ 112; see id. ¶ 36 (describing Mark Gillies as VWGoA’s

 “acting head of communications during the Class Period”). Finally, the Twitter post included in

 the Complaint was posted by “Volkswagen USA,” not the German parent. Id. ¶ 114. Based on

 those allegations—which showed that the “Voltswagen” joke was communicated by and attributed

 to VWGoA alone—the Court held that Plaintiffs “ha[d] not sufficiently alleged an actionable

 securities fraud claim against Volkswagen AG.” Op. 34.

                Plaintiffs contend that three new allegations in their Proposed Second Amended

 Complaint demonstrate that their proposed amendment would not be futile here. But none

 addresses the basis for the Court’s dismissal of the Amended Complaint.

                First, Plaintiffs allege that “[VWAG] published the ‘draft’ press release on its

 global media website, called Volkswagen Newsroom.” Exhibit B to Motion for Leave (“Proposed

 Second Amended Compl.”) ¶¶ 6, 113, 156. That allegation is not plausible. Plaintiffs claim that

 they recently learned of VWAG’s supposed website post from “an internet search.” Proposed

 Compl. ¶ 156. But the only website link cited in the relevant paragraph of the Proposed Second

 Amended Complaint includes no record of such a post; instead it links to a webpage that says

 “[p]age not found[.]”1 It is telling that Plaintiffs cannot identify any support for VWAG’s alleged




 1
     See Proposed Compl. ¶ 156 (citing https://volkswagen-newsroom.com/en/press-
 releases/volkswagen-of-america-announces-name-change-to-voltswagen-6652.).

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  post, even though the Proposed Second Amended Complaint is full of quotes and screenshots from

  other websites. See, e.g., Proposed Compl. ¶ 117, 123.

                 Plaintiffs also claim that “[m]edia reports confirmed that the announcement about

  the name change was published on Volkswagen AG’s media site.” Proposed Compl. ¶ 113 (Mike

  Snider, A Day After Volkswagen Said It Was Changing Its Name to ‘Voltswagen,” Company Now

  Calls it a Joke, USA Today (March 30, 2021)). But the cited article does not mention any website

  operated by VWAG. Instead, it refers only to a “media site,” presumably the “U.S. media site”

  operated by VWGoA that publishes its press releases. Although Plaintiffs’ confuse the VWGoA

  “media website” and the “Volkswagen Newsroom,” Proposed Compl. ¶ 156, those are different

  sites: VWGoA’s “media site” collects press releases, while its “Newsroom” site collects stories

  about the company. And critically, both of those sites are operated by VWGoA and are not the

  same as VWAG’s “Newsroom” site.2 Therefore, Plaintiffs’ allegation that the post appeared on the

  “Volkswagen Newsroom” does not support the claim that VWAG published the press release.

                 In any event, that unsupported allegation is irrelevant. Janus clearly held that

  “[o]ne who prepares or publishes a statement on behalf of another is not its maker.” 564 U.S. at

  142. And following that decision, courts have repeatedly rejected claims alleging that a defendant

  was a “maker” because it helped to prepare or disseminate a statement. In Thorpe v. Walter Inv.

  Mgmt., Corp., 111 F.Supp.3d 1336, 1356 (S.D. Fla. 2015), for example, the district court rejected

  the plaintiff’s argument that defendants who allegedly incorporated the false statements of another


  2
    Both VWAG and VWGoA maintain “Newsroom” sites that collect various articles about the
  respective      companies.           See     https://www.vw.com/en/newsroom.html       (VWGoA);
  https://www.volkswagen-newsroom.com/en (VWAG). VWGoA also maintains its own “Media
  site” that is uses to post its press releases. See https://media.vw.com/en-us/. “A court may take
  judicial notice of information publicly announced of a party’s web site, so long as the web site’s
  authenticity is not in dispute.” Jeandron v. Bd. of Regents of Univ. Sys. of Md., 510 Fed. Appx.
  223, 227 (4th Cir. 2023).

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  into their company’s 8-K filing were the “makers” of those statements. In doing so, the district

  court reasoned that “cull[ing] together and disseminat[ing] information to the public that turned

  out to be false [is] insufficient to support a finding that a defendant is the maker of the alleged

  misrepresentation.” Similarly, in Noto v. 22nd Century Group, 35 F.4th 95, 104 (2d Cir. 2022), the

  Second Circuit rejected a claim against defendants who allegedly paid authors to write articles

  promoting their company’s stock on the ground that plaintiffs failed to allege that defendants

  “wrote the articles [or] controlled what the author put into the articles.” As those decisions

  demonstrate, Plaintiffs cannot pursue a claim against VWAG based solely on its alleged

  republication of VWGoA’s press release. Instead, they must allege facts showing that VWAG

  exercised “ultimate authority” over the contents of that release. They have not done so.

                 Second, Plaintiffs point to various after-the-fact statements by VWAG that

  supposedly show that “[VWAG] took responsibility for issuing the fraudulent statements by

  admitting the name change was a joke.” Pltfs’ Br. 8.3 As Defendants previously explained in

  responding to the Amended Complaint, however, VWAG’s statements to various news outlets—

  including its statement to The Wall Street Journal, Proposed Compl. ¶ 176—accurately state that

  VWGoA was not changing one letter in its name. See Defendants’ Reply in Support of Motion to

  Dismiss Amended Complaint at 14, ECF No. 36. Those statements therefore do not support the

  inference that VWAG—as opposed to VWGoA—made the allegedly misleading statements in the



  3
   Those after-the-fact allegations concern truthful statements to reporters. See Proposed Compl.
  ¶¶ 14 (“[A] Volkswagen AG official stated ‘It’s a premature April Fools’ joke. It’s part of a
  marketing campaign for the ID.4. There will be no name change.’ ”), 16, 114, 130, 168, 176.
  Plaintiffs also include a number of new allegations about posts to a “Volkswagen” Twitter account
  after the April Fools’ Day joke was revealed. See Proposed Compl. ¶¶ 15 (post stating that the
  “Voltswagen” marketing campaign got “people talking about electric driving and our ID.4”), 23,
  132. Those posts do not reflect that VWAG exercised ultimate authority over the marketing
  campaign.

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  first place. If anything, they demonstrate that VWAG shared truthful information in response to

  journalists’ questions.

                  It is also not surprising that a parent corporation would communicate with the press

  about matters involving its subsidiary. See In re Turquoise Hill Res. Ltd. Sec. Litig., 2022 WL

  4085677, at *21 (S.D.N.Y. Sept. 2, 2022) (“Rio’s ability—as a majority stockholder—to influence

  Turquoise Hill’s statements is distinct from showing that Rio, in fact, exerted ‘ultimate control’

  over the statements at issue in this case.”) (quoting Janus, 564 U.S. at 143). This Court has already

  rejected Plaintiffs’ attempt to satisfy Janus by alleging nothing more than VWAG’s ordinary

  “monitoring functions” as a parent corporation, Op. 33, and Plaintiffs’ new allegations do not

  support a different result.

                  Third, Plaintiffs contend that VWAG was the “maker” of the misstatements alleged

  in the Proposed Second Amended Complaint because “the public attributed the misstatements to

  Volkswagen AG.”       Pltfs’ Br. 2, 8; see Proposed Compl. ¶¶ 18, 170. Plaintiffs cite no authority

  for that proposition. In fact, the only decision they cite includes no discussion of whether a

  defendant was the “maker” of a statement, discusses an unrelated holding from Janus, and does

  not even include the passage quoted by Plaintiffs. Masterson v. Commonwealth Bankshares, Inc.,

  2013 WL 6917423, at *11-14 (E.D. Va. Dec. 27, 2013), report and recommendation adopted, 2

  F. Supp. 3d 824 (E.D. Va. 2014). In any event, the press releases were clearly issued by and

  attributed to VWGoA, the statements to reporters were made by a VWGoA employee, and the

  Twitter post was to VWGoA’s account.4



  4
    Plaintiffs’ Proposed Second Amended Complaint also includes a quote from a spokesperson for
  the Associated Press claiming that “the Associated Press was repeatedly assured by Volkswagen
  that its U.S. subsidiary planned a name change.” Proposed Compl. ¶ 161 (quoting David Bauder,
  An Unwelcome Prank: Volkswagen Purposefully Hoodwinks Reporters, Associated Press (March
  31, 2021)). That isolated statement simply confirms that it was the “U.S. subsidiary,” not VWAG,
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                 Simply put, Plaintiffs’ proposed amendments do not address the core deficiency in

  their Complaint: the complete absence of allegations that VWAG exercised “ultimate authority”

  over any misstatement made during VWGoA’s “Voltswagen” marketing campaign.

  II.    The Proposed Amendments Do Not Allege That VWAG Acted With Scienter.

                  Plaintiffs’ inability to plead that VWAG made any statement in connection with

  the “Voltswagen” marketing campaign is a sufficient ground to deny their motion to amend.

  Plaintiffs proposed amendments are also futile because they ignore the Court’s holding that

  Plaintiffs failed to plead scienter as to VWAG. That defect alone prevents Plaintiffs from

  establishing VWAG’s liability and, “[w]ithout a plausible theory of liability ascribed to the issuer,

  Plaintiffs’ purchase or sale of Volkswagen ADRs cannot be said to ‘touch[]’ or ‘coincide’ with the

  alleged false statements of the Individual Defendants and VWGoA.” Op. 52.

                 In the Fourth Circuit, a securities fraud plaintiff can establish that a corporation

  acted with scienter only by “alleg[ing] facts that support a strong inference of scienter with respect

  to at least one authorized agent of the corporation.” Yates, 744 F.3d at 885 (quoting Matrix Cap.

  Mgmt. Fund, 576 F.3d at 182). There is no dispute that Plaintiffs do not allege that any corporate

  agent of VWAG acted with scienter, and that alone is dispositive of their claims against VWAG.

                 Plaintiffs have no basis to try to plead their claim through the concept of “collective

  scienter,” whereby “the cumulative knowledge of [a corporation’s] directors and officers” can be

  imputed to a corporation. Nordstrom, Inc. v. Chubb & Son, Inc., 54 F.3d 1424, 1435 (9th Cir.

  1995); see Op. 43.       “[C]ollective corporate scienter” applies in only “exceedingly rare


  that announced the name change, and the same article goes on to explain that “[t]he AP wrote a
  story about [the April Fools’ Day marketing campaign] Monday after its reporter was assured by
  Mark Gillies, a company spokesman in the United States, that it was serious.” Bauder, An
  Unwelcome Prank, supra (emphasis added). Mr. Gillies is an employee of VWGoA, not VWAG.
  Proposed Compl. ¶ 40.

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  circumstances,” when “a statement is so ‘dramatic’ [and] of such core importance” to a corporation

  that it is appropriate to infer knowledge to a corporation without establishing the scienter of any

  specific corporate agent. Jackson v. Abernathy, 960 F.3d 94, 99 (2d Cir. 2020) (citation omitted).

  Both decisions cited by the Court expressed skepticism of the doctrine. See Nordstrom, 54 F.3d

  at 1435 (emphasizing that “there is no case law supporting an independent ‘collective scienter’

  theory”); Makor Issues & Rights, Ltd. v. Tellabs, Inc., 513 F.3d 702, 708 (7th Cir. 2008) (holding

  that “[t]o establish corporate liability for a violation of Rule 10b–5 requires looking to the state of

  mind of the individual corporate official or officials who make or issue the statement . . . rather

  than generally to the collective knowledge of all the corporation’s officers”).

                 Yet Plaintiffs have not even attempted to argue that their proposed amendments

  would support “collective corporate scienter” on these facts. And Plaintiffs would face an uphill

  road in making that argument, as Defendants are unaware of any case that has discussed the theory

  in a situation where the knowledge of employees in one corporation (VWGoA) would be imputed

  to a different corporation (VWAG). As the Court correctly found, because “Plaintiffs have not

  sufficiently pleaded Volkswagen AG exercised ‘ultimate authority’ over VWGoA, this Court is

  unable to attribute the severe recklessness of the Individual Defendants to Volkswagen AG by way

  of a ‘collective scienter’ theory.” Op. 44.

                 Plaintiffs’ failure to engage with this Court’s reasoning on scienter is dispositive.

  The Court clearly explained that, “[w]ithout a plausible theory of liability ascribed to” VWAG,

  Plaintiffs’ claims based on unsponsored ADRs referencing VVAG’s German-traded stock could

  not move forward against any Defendant. For this reason alone, Plaintiffs’ proposed amendment

  should be denied as futile.




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                                         CONCLUSION

                   Defendants respectfully request that the Court deny Plaintiffs’ proposed

  amendment and dismiss the operative First Amended Complaint with prejudice.


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  April 11, 2023




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                                    CERTIFICATE OF SERVICE

         I hereby certify that on April 11, 2023, I electronically filed the foregoing with the Clerk

  of Court using the Court’s CM/ECF filing system, which will send notification of electronic filing

  (NEF) to all counsel of record.



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